
The Court having considered the Petition for Reinstatement to the Maryland Bar filed by Petitioner, Bruce David Blum, and the response of Bar Counsel filed in the above entitled case, it is this 28th day of October, 2016
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that the Petition for Reinstatement of Bruce David Blum be, and it is hereby, granted, and it is further
ORDERED, that Petitioner, upon taking in open court and subscribing to the oath of attorneys required by MD Code (2004), Business Occupations and Professions Article Sec. 10-212, be reinstated as a member of the Bar of Maryland, and it is further
ORDERED that the Clerk of the Court shall replace the name of Bruce David Blum upon the register of attorneys entitled to practice in this Court and certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State.
